Las Vegas, Nevada 89146-5308

2850 South Jones Boulevard, Suite 1
Tel: (702) 228-7590 - Fax: (702) 892-0122

SCHWARTZER & MCPHERSON LAW FIRM

Oo Oo NN DBD WO BP WY NO

NO NO NO HNO HN NH WN HO NO RR RR Ee FEF Re eee ee
oo SN KN ON HR WHY NY K& OS OBO BO HN DH TW FF WH HO KF BD

Case 12-20337-btdb Doc180 Entered 08/02/18 11:33:07 Pagei1of5

Jeanette E. McPherson, Esq., NV Bar No. 5423
Schwartzer & McPherson Law Firm

2850 South Jones Blvd., Suite 1

Las Vegas NV 89146-5308

Telephone: (702) 228-7590

Facsimile: (702) 892-0122

E-Mail: bkfilings@s-mlaw.com

Attorneys for Shelley D. Krohn, Chapter 7 Trustee
UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re Case No. BK-S-12-20337-BTB
D.W. Doc Wiener, Chapter 7

Debtor. | TRUSTEE’S NOTICE OF INTENT TO
ABANDON ESTATE INTEREST IN
JUDGMENT AGAINST KLIPPER
CHEMTROL CORPORATION

 

 

NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to LR 9014.1, the court will consider this motion, objection, or other
matter without further notice of hearing unless a party in interest files an objection
within 21 days from the date of service of this paper. If you object to the relief
requested in this paper, you may file your objection at the bankruptcy clerk’s office
located in Las Vegas at the United States Bankruptcy Court, 300 Las Vegas Blvd.
South, Las Vegas, Nevada, 89101, or in Reno at the United States Bankruptcy
Court, 300 Booth Street, Reno, NV 89509, and serve a copy on the movant’s
attorney and any other appropriate persons.

It is the duty of the objecting party to timely set the objection for a hearing
and properly notice all parties in interest. If you do not file an objection
within the time permitted, an order granting the requested relief may be
entered by the court without further notice or hearing.

PLEASE TAKE NOTICE that pursuant to Fed. R. Bankr. P. 6007(a) and 11 U.S.C.
§554(a), Shelley D. Krohn, Chapter 7 Trustee (“Trustee”), intends to and will abandon the
following described non-exempt asset(s) as burdensome and of inconsequential value to the estate
unless a creditor or other interested party files and serves a written objection pursuant LR 9014.1,
within 21 days from the date of service of this paper, on the Trustee’s attorney (Schwartzer &

McPherson Law Firm) and any other appropriate person.

notice of abandonment v2.doc Page | of 2

 
Las Vegas, Nevada 89146-5308

2850 South Jones Boulevard, Suite 1
Tel: (702) 228-7590 - Fax: (702) 892-0122

SCHWARTZER & MCPHERSON LAW FIRM

ft

oO © SN BON NN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 12-20337-btdb Doc180 Entered 08/02/18 11:33:07 Page 2of5

The Trustee intends to abandon the estate’s interest in the following asset (the “Asset”:

1. The “Judgment” entered on August 17, 2015 in the case titled Wiener v.
Klipper Chemtrol Corp., Case No. A628583 in the District Court, Clark
County, Nevada in favor of D.W. “Doc” Wiener and against Klipper
Chemtrol Corporation in the amount of $363,085.62, plus interest at
the rate of 5.25% per annum thereon from the date of August 17, 2015
until satisfied. See attached Judgment.

Pursuant to Local Rule 9014.1(a)(4), notices of abandonment pursuant to Fed. R. Bankr. P.
6007(a) may be considered by the Court without an actual hearing under the negative notice
procedure described in Local Rule 9014.1, if no party requests a hearing.

An attorneys’ lien against the Asset has been asserted by Mario P. Lovato, Esq. and Lovato
Law Firm, P.C. and the Trustee has not been able to determine that the defendant, Klipper
Chemtrol Corporation has any assets, or assets of a sufficient value, to make execution on the
Asset worthwhile and beneficial to the estate. As a result, this Asset constitutes a burden to the
estate and is of inconsequential value and benefit to the estate.

Based upon the foregoing, the Trustee hereby gives notice of her intent to abandon the
Asset and requests an Order of this Court that the above-described Asset be deemed abandoned by
the Trustee. As set forth above, objections to this proposed abandonment that are not timely
filed and served may be deemed waived and/or invalid.

Dated this 2nd day of August, 2018.

/s/ Jeanette E. McPherson

Jeanette E. McPherson, Esq.
Schwartzer & McPherson Law Firm
2850 South Jones Blvd., Suite 1

Las Vegas NV 89146-5308

Attorneys for Shelley D. Krohn, Trustee

notice of abandonment v2.doc Page 2 of 2

 
L727 oy had to

bras

 

Case 12-20337-btb Doc180 Entered 08/02/18 11:33:07 Page 3of5

Electronically Filed
08/17/2015 10:51:04 AM

yen .
MARIO P, LOVATO
Nevada Bar No. 7427 Wir ). Afr
LOVATO LAW FIRM, F.C.
7465 W. Lake Mead Blvd, Sie 100 CLERK OF THE COURT
Las Vegas, Nevada 89128
TEL: (702) 979-9047 |
PAX: (702) 554-3858
Attorney for Plaintiil / Counter defendant
D.W. “Doe” Wiener

DISTRICT COURT
CLARK COUNTY, NEVADA

DW, “DOC” WIENER, an individual, j} CASE NO. AG29383
) DEPT NO. 11
Plaintiff,

)
} (Formerly consolidated with AG24497)
VS. }

 

 

KLIPPER CHEMTROL CORPORATION,
Defendant. }
}
)
AND COUNTERCLAIMS. )
)

JUDGMENT

‘This matter having come on regularly for tial on May 18-20, 2015 and having been
concluded and submitted to the Court, and the Court having entered Findings of Fact and
Conclusions of Law on May 22, 2015; Plaintiff / Counterdefendant D.W. “Doc” Wiener

(*Wiener™ or “Plaintiff') having filing a Memorandum of Costs and Disbursements on Fane 4,

2015 and a Motion for Atiorney Fees and Costs on June 11, 2015, and the Court having

conducted a chambers hearing on July 17, 2018 for such Motion For Attorney Fees And Costs,
and for good cause,

The COURT HEREBY FINDS that:

1. Upon review of the papers and pleadings on file in this matter, D.W. “Doc”
Wiener provided proper service of the Motion For Attorney Fees And Costs and the
Memorandum of Casts and Disbursements upon Defendant / Counterclaimant Klipper Chemtrol

Corporation.

oy

See ae BEN a
No ~ 4 wing? vo’ s,
NOP ce we PEGGY
we ad PRP AGS

 
im

&

 

Case 12-20337-btb Doc180 Entered 08/02/18 11:33:07 Page 4of5

2 No opposition or other response has been Aled by Klipper Chemirol Corporation

to the Motion for Attorney Fees and Costs or to the Memorandum of Casis and Disbursements;
accordingly, pursuant to EDCR 2.20(b), the Motion for Fees and Costs is deemed unopposed.

3. There is a prevailing party provision in the parties’ agreement, and Wiener was,
and is, ihe prevailing party in this matter as a result of the trial and the Court’s Findings of Pact
ani Conchasions of Law entered on May 22, 2035,

A, Under Brunell vy. Golden Gaie Nat Bank, 85 Nev, 345, 455 P.2d 31 (1969),
when courts determine the appropriate fee to awaid in civil cases, they must consider various

factors: (1) the qualities of the advocate: his ability, bis training, education, experience,

. professional standing and skill; @)} the character of the work to be done: its difficulty, its

intricacy, its importance, time and skill required, the responsibility imposed and the prominence
and character of the parties where they affect the importance of the litigation; (3) the work
actually performed by the jawyer: the skill, time and attention piven to the work; (4) the result:
whether the attorney was successful and what benefits were derived.
5, The Brunzell factors support the award of attorney fees, Mr. Lovato is a business
litigator who has appeared before the Court on numerous occasions, has worked at reputable law
firms in Las Vegas, Nevada, has charged a reasonable billing rate in this matter; the character of
the work involved the filing of motions and related pleadings, appearance at hearings,
appearance at trial, the drafting and service of written discovery and related work, which is
commensurate with the requested billable rate: the work performed by Applicant, was
reasonable; and the result obtained was that Applicant prevailed in the motions fled with the
Court.

6. The following attorney fees and costs of Plaintiff Wiener should be, and are,

approved as being reasonable, and being necessarily and actually incurred in the litigation of this

hs

 
bh
fe

 

Case 12-20337-btpb Doc180 Entered 08/02/18 11:33:07 Page 5of5

matter from its inception up to May 31, 2015: (a) attamey fees in the amount of $166,520.00;
and (b) costs in the amount of $11,565.62.

7. Judgment should be entered j in favor of Plaintiff DAW. “Doc” Wiener and against
Klipper Chemtrol Corporation, as further stated below, based upon the Findings and Fact and

Conclusions. of Law entered on Mary 22, 2015 and for the amounts granted herein for the Motion

' for Attorney Fees and Costs.

IT 18S HEREBY ORDERED, ADIUDGED AND DECREED that JUDGMENT is hereby
entered in favor of Plaintiff DLW. “Doc” Wiener and against Defendant Klipper Chemtrol!
Corporation is the sum and amount of One Hundred Eighty-Five Thousand Dollars and zero
cents ($185,000.00), plus attorney fees and costs in the amount of One Hundred Seventy-Eight
Thousand Eighty-Five Dollars and sixty-two cents ($178,085.62) for a TOTAL JUDGMENT in
the amount of Three Hundred Sixty-Three Thousand Eighi-Five Dollars and sixty-two cents
($363,083.62), plus interest at the rate of 5.25% per annum thereon from the date of entry herein
until satished,

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff D.W. “Doc”
Wiener shall be entitled to, and hereby is permilied to, collect any and all amounts awarded

herein by any legal means.
DATED: August & 201 5,

Says)

~~ DISTRIET rea NDGE)

Submitted by: C
WA yy FIRMA, © \

MARIOS: cso a

 

  
 

Nevada No. 7427
Attorney for Plaintiff / Counterdefendant
D.W. “Doc” Wiener

tad

 
